                             UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

In re:                                                   )     Chapter 11
                                                         )
Squirrels Research Labs LLC et al.,1                     )     Case No. 21-61491
                                                         )     (Jointly Administered)
                          Debtors.                       )
                                                         )     Judge Russ Kendig


        NOTICE OF MOTION OF DEBTOR AND DEBTOR-IN-POSSESSION
     SQUIRRELS RESEARCH LABS LLC FOR AN ORDER AUTHORIZING THE
    REJECTION OF EQUIPMENT LEASE AGREEMENTS WITH BITTWARE, INC.

         PLEASE TAKE NOTICE THAT on December 22, 2021, Squirrels Research Labs LLC,

one of the debtors and debtors-in-possession (the “Debtor”), in the above-captioned Chapter 11

cases, filed the Motion of Debtor and Debtor-in-Possession Squirrels Research Labs LLC For an

Order Authorizing the Rejection of Equipment Lease Agreements With BittWare, Inc. (the

“Motion”).

         Your rights may be affected. You should read the Motion carefully and discuss it with

your attorney, if you have one in these bankruptcy cases. (If you do not have an attorney, you

may wish to consult one.)

         Pursuant to Local Rule 9013-1(b), if you do not want the Court to grant the relief

requested in the Motion, or if you want the Court to consider your views on the Motion, then on

or before January 5, 2022, you or your attorney must file with the Court a written objection

explaining your position at:


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Squirrels Research Labs LLC (9310), case no. 21-61491 and The Midwest Data Company LLC (1213),
case no. 21-61492.




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                                United States Bankruptcy Court
                                Office of the Clerk
                                Ralph Regula Federal Building and U.S. Courthouse
                                401 McKinley Avenue, SW
                                Canton, Ohio 44702

You must also serve a copy of your request on the undersigned counsel:

                                Marc B. Merklin
                                Julie K. Zurn
                                Brouse McDowell LPA
                                388 S. Main Street, Suite 500
                                Akron, Ohio 44311

                                Counsel for the Debtors and Debtors-in-Possession

          Pursuant to Local Rule 9013-1(d), if you or your attorney do not take these steps, the

Court may grant the relief requested without conducting a hearing and without further notice to

you.


Dated: December 22, 2021                        Respectfully submitted,

                                                /s/ Julie K. Zurn
                                                Marc B. Merklin (0018195)
                                                Julie K. Zurn (0066391)
                                                BROUSE McDOWELL, LPA
                                                388 S. Main Street, Suite 500
                                                Akron, Ohio 44311
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                                                and Debtors-in-Possession

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